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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF IDAHO

  UNITED STATES OF AMERICA,
                                                       Case No. 1:18-cr-00258-BLW
           Plaintiff,
                                                       PRETRIAL ORDER
            v.

  PAVEL BABICHENKO,
  PIOTR BABICHENKO,
  TIMOFEY BABICHENKO,
  KRISTINA BABICHENKO,
  DAVID BIBIKOV,
  ANNA IYERUSALIMETS, and
  MIKHAIL IYERUSALIMETS,

           Defendants.



       The retrial of this matter is set for May 16, 2022. The Court previously

designated this case as complex pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii) and

anticipates a six-week trial. 1 The first trial began on June 21, 2021 and ended on

September 2, 2021, when the jury returned a partial verdict and the Court declared

a mistrial on the 19 counts detailed below. This pretrial order outlines the

procedures that will govern the retrial.



       1
          In an earlier order, the Court said it anticipated an eight-week trial. Since that time,
however, the Court has determined that it will place the government on the clock, which will
shorten the length of the trial. This trial clock is discussed below in Paragraph C. Just in case the
trial runs long, however, counsel and the parties should still set aside eight weeks for planning
purposes.

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A.     The Charges

       The retrial will involve 19 counts, as follows:

       (1) Conspiracy Counts – Counts 1 and 20.

       All seven remaining defendants are charged in Counts 1 and 20 with

conspiring to commit wire fraud and conspiring to sell counterfeit goods over a 10-

year period, from 2008 through 2018. Six defendants (all but Peter Babichenko)

are charged with having committed discrete acts of wire fraud, mail fraud, and

trafficking in counterfeit goods on specific dates in 2016 or 2017, as follows: 2

       (2) Wire Fraud
             a. Count 2 (Michael Iyerusalimets – 3/7/16 transaction);
             b. Count 3 (Michael and Anna Iyerusalimets – 3/14/16 transaction);
             c. Count 4 (Tim and Kristina Babichenko – 3/17/16 transaction;
             d. Count 6 (Tim Babichenko – 10/24/17 transaction); and
             e. Count 9 (David Bibikov – 12/12/17 transaction).

       (3) Mail Fraud
             a. Count 11 (Michael Iyerusalimets – 3/7/16 transaction);
             b. Count 12 (Michael and Anna Iyerusalimets – 3/14/16 transaction);
             c. Count 13 (Tim and Kristina Babichenko – 3/17/16 transaction);
             d. Count 15 (Tim Babichenko – 10/24/17 transaction); and
             e. Count 18 (David Bibikov – 12/12/17 transaction).



       2
          The parenthetical references detail the defendant charged as well as the date of the
transaction at issue. Also, defendants previously indicated a preference for the Americanized
version of their names, so the Court will use those spellings, rather than the spellings used in the
pleading caption. Finally, the Court expects to issue rulings on the three pending Motions for
Judgment of Acquittal (filed by Michael Iyerusalimets, Peter Babichenko, and Tim Babichenko)
shortly. See Dkts. 1183, 1187, and 1188. If the Court grants these motions, there is a possibility
that the trial will be further narrowed. Nevertheless, given the multiple defendants and the
multiple counts, there will definitely be a retrial, so it makes sense to put the procedures in place
now.

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      (4) Trafficking in Counterfeit Goods
             a. Counts 21, 22, and 23 (Paul Babichenko – 10/26/16 and 1/5/2017
                 transactions);
             b. Count 25 (Michael and Anna Iyerusalimets – 3/14/16 transaction);
             c. Count 26 (Michael Iyerusalimets – 3/7/16 transaction);
             d. Count 28 (David Bibikov – 12/2/16 transaction); and
             e. Count 30 (Tim and Kristina Babichenko – 3/17/16 transaction).

B.    Objections to Trial Procedures
      As with the first trial, the Court is again faced with the logistical challenge

of conducting a complex criminal trial during a global pandemic. See Dkt. 666.

The second trial will largely follow the logistical outline of the first, although the

Court will continue to follow the guidance of the CDC and the Court’s retained

epidemiologist, which may require that the protocols laid out in this order be

modified at a later date. At present, however, the Court intends to follow the

procedures set forth in this Order.

      Before the first trial, defendants lodged various objections to the Court’s

planned trial procedures – many of which related to their right to a public trial. The

Court resolved those objections in a written order. See Jan. 27, 2021 Mem.

Decision & Order, Dkt. 730. Those rulings continue to apply, so the Court will not

reiterate its various findings and rulings here, and the defendants do not need to

restate their objections. But to the extent this Order lays out new procedures, and a

party has an objection to those procedures, the party should raise that objection in

writing within 14 days of this Order.


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C.    The Trial Clock

      The Court will place the government on the clock during the presentation of

its case-in-chief.

      The Supreme Court has observed that “if truth and fairness are not to be

sacrificed, the judge must exert substantial control over the proceedings.” Geders

v. United States, 425 U.S. 80, 86-87 (1976) (as cited in United States v.

Hildebrand, 928 F. Supp. 841 (N.D. Iowa 1996)). After having sat through the first

trial in this case, the Court is convinced that it must exert more control over the

proceedings to guarantee a just and efficient trial. In particular, the Court believes

the government could easily present its case-in-chief in at least 75% (and perhaps

even 50%) of the time it took during the first trial. If the Court were to allow the

government to again present its case without temporal restraints, the Court is

concerned that the trial would run a substantial risk of being both confusing to the

jury and excessively long.

      The Court intends to allow the government 60 hours to present its case-in-

chief. The Court anticipates that each trial day will consume five hours of clock

time, meaning that the government will be given 12 trial days in which to present

its case in-chief. (Note that the 60 hours of clock time will consume more than 12

days trial days, as the clock will not be running while defense attorneys cross-

examine government witnesses.) In its discretion, the Court may allow the


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government additional time depending on how the evidence unfolds at trial. The

government should not plan on additional clock time, however, as it prepares to

take the case to trial.

       As with any other objections to new procedures laid out in this pretrial order,

the parties are free to file a written objection to the Court’s planned use of the trial

clock. Additionally, the Court intends to discuss the clock with the parties during

the next scheduled interim pretrial conference.

       These are the more specific rules governing the running of the clock:

       (1) The clock will not run during any part of jury selection.

       (2) Otherwise, the clock will be running while government attorneys are on

             their feet – that is, during opening statement, during closing argument,

             and while examining witnesses during the presentation of the case-in-

             chief. If a defense attorney makes an unsuccessful objection, the

             government will not be charged for time consumed ruling on that

             objection. If, on the other hand, a defendant wins an objection, the

             government will be charged for the time consumed in ruling on the

             objection. 3



       3
        As a general rule, the Court will not bother tracking rulings on brief objections, such as
“Objection – Hearsay,” etc. Such a level of granularity would not be feasible. But when there is
(Continued)

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       (3) The government will not be charged for time defendants spend cross

             examining government witnesses, although the same rules outlined

             above regarding unsuccessful objections will apply. That is, if the

             government unsuccessfully objects to a defense attorney’s line of

             questioning, the government will be charged with the time it takes to

             resolve that objection.

       (4) Court staff will keep track of the time the government has used during

             each trial day and will provide reports to counsel the following

             morning.

       The Court will not place defendants on the clock, as it did not observe

serious inefficiencies during the defendants’ presentation of their cases during the

first trial. Likewise, the Court will not put the government on the clock during any

rebuttal case, as the government was efficient during that phase of the first trial.

Note, however, that if any party’s presentation of evidence (or examination of

witnesses) becomes cumulative or inefficient during these phases of the trial, the

Court will sustain appropriate objections.




an extended discussion on objection (say a discussion that exceeds two or three minutes), the
Court will assess who should be charged with the time. The parties are free to keep a shadow
time log during the day, and if there are discrepancies between a party’s log and the Court’s log,
the parties are free to raise that point with the Court.

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D.    Daily and Weekly Trial Schedule

       Trial will begin at 9:00 a.m. on Monday, May 16, 2022. (As noted earlier,

the Court may push the start date back to May 23, 2022, depending on the status

of U.S. v. Ramsey, Case No. 1:19-cr-158-DCN. See Sept. 23, 2021 Trial Setting

Order, Dkt. 1201, at 1-2.) For the duration of the trial, proceedings will be

conducted Monday through Friday, with the following planned breaks:

          Memorial Day Holiday: There will be no proceedings Monday May 30,
          2021 through Friday, June 3, 2021.

          Fourth of July Holiday: If trial is still in session as of the week of June
          27, 2022, the Court will recess from Monday, June 27, 2022 through
          Tuesday, July 5, 2022. Proceedings will resume on Wednesday, July 6,
          2022.

       1. Jury Selection Schedule: During jury selection, which is discussed

more thoroughly in Paragraph J below, proceedings will be conducted from 9:00

a.m. through 5:00 p.m., with a 90-minute lunch break. The Court anticipates that

jury selection will be completed in the first three days of trial. Opening

arguments will begin on the morning after the jury is selected – even if the jury is

selected early in the previous day.

       2. Regular Trial Schedule: After the jury is selected, the Court will shift

to conducting proceedings from 9:00 a.m. through 3:15 p.m. The Court will take

three 15-minute breaks during each trial day. Counsel will need to arrive each

morning in time to ensure that their technology is up and running by the


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scheduled 9:00 a.m. start time. The Court’s IT staff will be present beginning at

8:30 a.m. every day to provide technical assistance.

E.    Use of Courtroom 3 During the Trial

            1. Seating Assignments for Court, Jury and Government

       The Court remodeled Courtroom 3 for the first trial, removing the benches

in the gallery seating area to make room for defense tables. This layout will

remain in place for the retrial. Jurors will again be seated in the jury box and in

the well. The government will likewise be seated at the tables on the north wall

of the courtroom (i.e., the area where the defense typically sits). Court staff (the

judge, courtroom deputy, court reporter, and law clerk) will sit in their usual

spots. As detailed further below, the defendants and their attorneys will be seated

in the gallery and at the large, existing table in front of the gallery and closest to

the jury box.

            2. Defense Seating
       Defendants will be seated at the large table near the well and in the

tables located in the gallery seating area. The gallery seating area contains 10

defense tables, plus two smaller tables. At this stage of the pandemic, it

appears likely that each defendant will be allowed to have two attorneys

present in the courtroom. Additionally, the defendants will be allowed to have

an investigator and a paralegal in the gallery area.

       If the Governor of Idaho again restricts public gatherings to 50 or fewer
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people, the second-chair attorneys and, potentially, other support staff and

investigators, will not be allowed in the Courtroom. Instead, they will be able

to watch a livesteam of the proceedings via Zoom, and they will be able to

instant message co-counsel and their client, as detailed further below.

            3. Rotating Seating Assignments for Defendants and Jurors
       The Court will randomly assign seating at the defense tables, and the

seating assignments will change every two days throughout the trial so that the

jury does not unconsciously focus on a particular defendant simply because of

where he or she is seated. The jury will also rotate seating assignments

throughout the trial.

       The jury will be instructed that the Court is randomly choosing and

changing seat assignments, and, further, that they should not attach any particular

significance to where a particular defendant is seated at any time during the trial.

            4. Technology at Defense Tables
                     a. Microphones
       Each defense table will be equipped with a microphone for counsel. The

court reporter may not be able to easily see the person objecting, so if any

counsel objects to a question or exhibit they must clearly state the objection and

then identify themselves, so the court reporter is able to accurately report the




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 proceedings.4 When speaking from their table, counsel must remain seated,

 masked, and speak directly into the microphone.

                      b. The Evidence Zoom

       As in the first trial, counsel and the defendants seated at the tables in the

gallery will be able to access the Court’s evidence presentation system via a Zoom

conference call (which the Court has sometimes referred to as the “Evidence

Zoom”). In particular, the Court will ensure that each defendant and their counsel

is able to view exhibits that are being shown on the Court’s evidence presentation

system but have not yet been admitted into evidence.

                      c. Defense Messaging
           The Court will provide each defendant with a laptop equipped with an

 instant messaging platform, such as Skype or Microsoft Teams. With these

 laptops, defendants should be able to instantly communicate with their attorneys,

 even if the attorneys are seated a few feet away. For the instant messaging to

 work, the defendants will be asked to select a computer-based messaging

 platform, and the Court will install the selected messaging platform on each of

 the seven defendant’s laptops.

           Given the socially distanced seating arrangements, the Court is not



       4
       For example, counsel should object as follows: “Objection, hearsay. John Doe for
Defendant Jane Roe”

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concerned that anyone other than the attorney and client will be able to view

these privileged communications. Nevertheless, the Court will equip the Court-

provided laptops with privacy screens. The Court anticipates that defense counsel

will use this same messaging platform to communicate with any counsel, staff, or

investigators who are not physically present in the courtroom.

            5. Government Seating

       The government has assigned four prosecutors to this case. At the first

trial, the government typically had three prosecutors, a paralegal (who operated

the evidence presentation system for government exhibits), and a case agent

seated at its table. The Court will again allow five individuals to be seated at the

government’s table. The government may select who will occupy these seats. If,

however, during the trial, gathering sizes are restricted, the Court will reassess

how many people will be allowed at the government table. The government

should also preselect a messaging platform to ensure it is able to communicate

between individuals at counsel table while maintaining social distance and with

any supporting attorneys/investigators/staff outside of Courtroom 3.

            6. Support Staff
       The Court will allow the government, on the one hand, and the entire

defense group, on the other, to have one individual in the courtroom to operate

the evidence presentation system. (The Court presumes these individuals will be


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seated in the same seats they occupied during the first trial, given that they will

need to be near the Court’s hard-wired evidence presentation system.)

             7. Other Participants in Courtroom 3

       If any witnesses wish to have an attorney present in the room during

their testimony, the Court will take up those requests as they arise at trial. And,

assuming counsel is permitted to be in the room, the Court will assign seating

for that attorney the day before the witness testifies.

             8. Physical Exhibits
      The Court assumes that the government will again introduce physical

exhibits. The Court will provide space to store these exhibits in a closet or cabinet

in Courtroom 3 during the trial.

             9. Electronic Exhibits

       To streamline evidence presentation, all exhibits that can be converted to

an electronic file must be displayed and submitted in electronic format. The only

exception is for physical exhibits; however, the Court encourages the parties to

utilize electronic exhibits of physical evidence where possible.

             10. Wireless Internet
       The Court’s IT staff will ensure that the Court’s wireless internet network is

sufficient for use during the trial. If any party has an issue with the network access

while a witness is testifying (or at any other time when trial proceedings are

underway) – and that issue prevents them from effectively representing their client

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– they shall immediately alert the Judge so that he will be able to stop the

proceedings and resolve the issue. If the issue is one that simply needs to be

resolved in due course, counsel are directed to email the Court’s IT staff

(Blake_Wickham@id.uscourts.gov or Doug_Crane@id.uscourts.gov).

F.    Defense Workspace
       During the first trial, the Court provided office space on the fifth floor of

the courthouse for defense counsel to utilize during trial, including a large “war

room.” The war room will not be available during the second trial, as another

federal agency will have moved into that space. Court staff will work with

defense counsel in an effort to provide office space for the second trial. Defense

counsel should be aware, however, that the space provided likely will not be as

large as the war room provided during the first trial. Regardless, though, a live

video feed will again be available in one of the office spaces provided to the

defendants. Similarly, the Evidence Zoom will also be made available in this

office space. Finally, the Court will again set aside smaller rooms for defense

counsel to use for meeting with their clients individually.

G.    Government Workspace

       The Court anticipates that the government will utilize its office space on

the third floor of the courthouse during the trial. The live video feed and the

Evidence Zoom will be available in the office space as well.


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H.    Public Viewing of the Trial

       At this time, due to space constraints and to reduce the spread of COVID-

19, the Court is not planning to allow the public to watch the proceedings from

within Courtroom 3. Rather, the public will be able to watch a live-stream of the

proceedings in Courtroom 3 from elsewhere in the Courthouse.

       Note, however, that at the first status conference, the Court will discuss

the possibility of allowing some members of the public to view the proceedings

from Courtroom 3. The Court is willing to rearrange the gallery area again, to

include the possibility of bringing at least one bench back into the courtroom for

public seating. Because it may limit the opportunity to have all second-chair

defense counsel present in the courtroom, the Court does not expect that the

defendants will be amenable to this suggestion. At the first trial, defendants

objected to the idea of having members of the public in the gallery area.

Presumably, defendants were concerned that members of the public would be

able to read their computer monitors or overhear conversations. Given these

concerns, at this point the Court intends to direct members of the public who

show up for the trial to an overflow room, where they will be able to watch a

live feed of the trial proceedings.

       During the first trial, the Court provided a live-stream of Courtroom 3 to

Courtroom 2 for the public’s viewing. Typically, though, only a few members of


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the public showed up to watch the trial – meaning that Courtroom 2 was nearly

empty for much of the trial. For that reason, the Court will make the following

adjustments for the retrial:

       (1) Public Viewing in Courtroom 2: The Court will livestream the

          proceedings in Courtroom 3 to Courtroom 2, via video, on days where

          it is anticipated that several members of the public will show up. At

          this point, the Court intends to set aside Courtroom 3 as the public

          viewing room for these days: (1) Opening Statements; (2) Closing

          Arguments; and (3) the Return of the Verdict.

       (2) Smaller Viewing Area: Otherwise, the Court will direct the public to a

          different room within the Courthouse to view the proceedings. That

          area has yet to be determined, but it will be clearly marked so that

          people who show up to watch the trial will easily be able to locate the

          viewing room.

       (3) Remote Viewing via Zoom: The Court will also live-stream the trial

          on a Zoom conference call. (This will be a second Zoom call – in

          addition to the Evidence Zoom described above.) Links to the Zoom

          call will only be made available to trial participants who are not in

          Courtroom 3 (i.e., Court staff, second- or third-chair attorneys,

          paralegals, investigators, support staff, etc.). In theory, members of the


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          public could join the Zoom call and watch the trial proceedings

          remotely by live video. But Federal Rule of Criminal Procedure

          prohibits broadcasting of trial proceedings from the courtroom. See

          Fed. R. Crim. P. 53. As with the first trial, however, the Court will

          make a live feed of the trial proceedings available to members of the

          public upon a showing of particularized need. See Dkt. 724, at 3. This

          is intended to allow those who are at a significant risk of complications

          from COVID to still be able to view the trial. Simply being out of town

          will not constitute a particularized need. Instead, the individual

          requesting access would have to have an underlying health condition

          that makes them unable to be vaccinated and puts them at a significant

          risk of serious symptoms or side effects of contracting COVID. To

          request access to the live feed, the individual will need to send a letter

          or email to the Clerk’s office at least two business days before the trial

          proceedings they would like to watch. Shortly before trial, Court will

          issue a separate notice to the public with instructions for requesting

          access.

I.    Witness Exclusion

       Assuming that either the government or any of the defendants choose to

 exclude witnesses as provided by Federal Rule of Evidence 615, the parties shall


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advise all of their witnesses that they are not to watch any trial proceedings prior

to testifying. Because the proceedings will be available to trial participants via

live video feed it is critical that all witnesses be so instructed.

J.    Jury Selection
              1. Potential Jurors

         Pursuant to the CDC guidelines, the Court will excuse any juror over 65

years old if they request to be excused. Additionally, if a potential juror presents

a doctor’s note indicating that they have a medical condition that put them at a

higher risk of complications from COVID, the Court will excuse that person.

Each juror will be required to wear a mask while inside the courthouse. If any

juror refuses to wear a mask upon entering the courthouse the Court will advise

the juror that they may be held in contempt for refusing to do so and then give

them an option of reporting to jury service or filling out a declaration as to why

they are refusing to wear a mask and the Court will then issue a show-cause

order.

              2. Juror Questionnaires

         The Court will work with Counsel to develop a questionnaire which will

be sent to, and completed by, every prospective juror. The completed

questionnaires will be sent to counsel at least one week before trial. Counsel

may not copy these questionnaires and must destroy them after jury selection is

complete. The Court anticipates holding a conference with counsel to review
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these questionnaires prior to trial to determine if any of the prospective jurors

should be excused prior to voir dire. After removing jurors who are clearly

unable to serve, the Court will direct that 72 jurors, in groups of 18, report for

jury selection.

            3. Voir Dire
       The Court will conduct voir dire with groups of 18 potential jurors in the

courtroom. More specifically, the Court will call 36 jurors per day, 18 in the

morning and 18 in the afternoon until 36 jurors have been passed for cause. Voir

dire will proceed on the following schedule:

       Morning Group: 9:00 a.m. – 12:00 p.m.

       Lunch Break: 12:00 – 1:30 p.m.

       Afternoon Group: 1:30 – 4:30 p.m.

       The jurors will be placed under oath. The Court will then conduct voir

dire, providing jurors with an opportunity to explain affirmative answers. While

answering these questions, the Court may direct the potential juror to approach a

microphone in a designated area of the courtroom (most likely in the well). The

Court will give counsel a very limited opportunity to ask follow-up questions.

These questions should be limited to specific answers provided by the jurors.

Counsel are cautioned not to repeat questions already asked by the Court or other

counsel and are advised that the Court will not permit voir dire which appears


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intended to influence the jury rather than explore appropriate concerns with a

juror’s ability to be fair and impartial.

       After counsel has had a chance to inquire, the Court will ask counsel if

they challenge any jurors for cause. After jurors are challenged for cause, and

the Court has excused any jurors, the Court will ask counsel to pass the panel of

remaining jurors for cause. The group of jurors will then be excused and allowed

to return home. The Court will admonish the jurors not to research the case or

discuss it with anyone.

       The Court anticipates calling the first group of potential jurors for voir

dire the morning of the first day of trial, the second group the afternoon of the

first day, the third group the morning of the second day, and so on until 36

potential jurors have been passed for cause.

            4. Alternate Jurors
       Pursuant to Federal Rule of Criminal Procedure 24(c), the Court will

empanel 4 alternate jurors.

            5. Peremptory Challenges.
       Pursuant to Federal Rule of Criminal Procedure 24, the government has

6 peremptory challenges, and the defendants have 10 peremptory challenges.

In addition, the parties will have peremptory challenges to the alternate jurors

as follows: 2 additional peremptory challenges for the government and 2


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 additional peremptory challenges for the defendants.5

                6. Exercising Peremptory Challenges
           The Court will provide counsel with a jury list, including a photograph of

 each juror and their juror number, passed for cause. The jury list will contain 36

 names, comprised of the lowest numbered jurors passed for cause. Counsel will

 be allowed to confer as they exercise peremptory challenges. The potential jurors

 will not be present in the courtroom during the exercise of peremptory

 challenges. Once the jury panel and alternates have been selected, the Court will

 summon the jurors selected to report the next day to begin the trial.

                7. Partial Sequestration
           The jury will be partially sequestered during trial and the Court will

 provide lunch for the jurors on some days – typically aiming for two days per

 week. During breaks the jurors will be placed in a large room allowing them to

 adequately social distance and remove their masks.

K.     General COVID-19 Pandemic Rules

                1. Masks
       All individuals entering the courthouse will be required to wear masks or




       5
          See United States v. McClendon, 782 F.2d 785, 787 (9th Cir. 1986) (“[T]here is no
‘right’ to additional peremptory challenges in multiple defendant cases. The award of additional
challenges is permissive, not mandatory, Fed. R. Crim. P. 24(b), and rests in the trial court’s
sound discretion.”)

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face coverings. For the duration of the trial, the Court will provide a clean,

disposable face mask to each trial participant each day. Trial participants must

wear these masks, rather than their own, during the trial. Masks or face coverings

must be worn at all times in the courthouse and courtroom. The only exceptions are

for counsel making arguments from a lectern protected by plexiglass and the

witness testifying from the witness stand.

              2. Public Access
       As noted above, to ensure public access to the proceedings, the Court

will make a livestream of the trial available. This livestream will be shown a

public viewing room in the courthouse and, otherwise, will be made available

to additional counsel, investigators, and support staff so that they can view the

trial either in their office or at another location in the courthouse.

              3. Following CDC Guidelines During Trial
       The Court will instruct the jury that, for the duration of the trial, they will be

required to follow CDC Guidelines to avoid COVID-19 infection even when they

are away from the courthouse. The same directions will be given, in the form of an

order, to all participants in the trial.

              4. COVID-19 Testing

       All trial participants will need to take a rapid-response COVID-19 test twice

a week on Tuesdays and Thursdays. Trial participants will administer this test

themselves, at home. To forego this testing, trial participants may sign an affidavit
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attesting that they are fully vaccinated for COVID-19. Nobody will be required to

sign such an affidavit; it is simply an option provided to avoid the testing

requirement.

               5. Protocol if A Trial Participant Tests Positive for COVID-19

       If a trial participant tests positive for COVID-19 the Court will consult with

health care professionals, including its retained epidemiologist, and determine

whether to proceed with the trial or continue the trial, or take any other action,

depending on the potential exposure to other participants and the necessity of the

participant to trial.

L.     Interim Conferences and Deadlines
               1. Pretrial Conferences
       The Court will conduct its first interim Pretrial Conference shortly – likely

within the next two weeks. That conference will be set in a separate notice of

hearing and a Zoom link will be provided shortly before the hearing. Thereafter,

the Court will schedule conferences as necessary and appropriate.

               1. Jury Questionnaire

       Counsel must forward comments and suggested revisions to the Court’s

case-specific questionnaire for prospective jurors (discussed above in Paragraph

J.2) by February 28, 2022.

               2. Motions in Limine

       All motions in limine and other pretrial motions must be filed by no later

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than March 28, 2021. All responsive memoranda must be filed within 14 days of

receipt of the moving papers, and the optional reply shall be filed within 7 days of

receipt of the response.

               3. Trial Briefs; Proposed Voir Dire; Proposed Jury Instructions;
                  Proposed Verdict Forms

         Trial briefs, proposed voir dire, proposed jury instructions, and proposed

verdict forms, must be filed by April 4, 2022.

               4. Exhibits

         The parties must (1) file final witness and exhibit lists; and (2) exchange

exhibits by March 21, 2022. The parties may stipulate to later dates, so long as

final lists are filed with the Court by April 18, 2022. The parties do not need to

file copies of exhibits with the Court before trial. At the conclusion of the trial,

counsel shall provide the Courtroom Deputy with a copy of the exhibits that

were admitted during the trial. Admitted exhibits shall be provided on a USB

drive.

M.       Interpreters
          The Court does not anticipate having an interpreter present for the

defendants during trial, as one was not needed during the first trial. If either side

will be requesting an interpreter for witnesses, counsel shall notify the Court by

April 4, 2022. Counsel shall coordinate with Kelly Montgomery

(kelly_montgomery@id.uscourts.gov) on this issue.

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N.    Certified Daily Transcripts

       The Court anticipate that the parties will again wish to order Certified

Daily Transcripts of the trial proceedings. The costs for these transcripts will be

split between the government and the CJA.

O.    Witness Photographs

      To assist the jury in remembering witness testimony, at the conclusion of

any trial day where witnesses testified, the offering party shall supply color

photographs of such witnesses to the Jury Commissioner and to the Law Clerk.

The party shall supply 16 copies to the Jury Commissioner (one for each juror) and

one color copy to the Court’s law clerk. The parties may follow the format used

during the last trial, and it would be helpful if the photographs could be supplied

on 3-hole-punched, 8½ x 11” paper, which allows jurors to easily put the sheets

into their trial notebooks.

P.    Trial Record
       To assist the court reporter in making a more accurate record of the trial

the Court will require the parties to follow these requirements:

      1. Prior to trial, supply a list of uncommon proper names, places,

          companies, and case cites to the reporter.

      2. Spell and/or have the witness spell uncommon proper names, places,

          companies, and case cites during the trial.

      3. When possible, use docket numbers when referring to briefing
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         and/or documents.

      4. Notify the court reporter by email each evening of the witnesses

         who will be called the following day.

      5. Provide the court reporter with the names and email addresses of

         paralegals for inquiries and access to exhibits.

      6. Provide access to electronic copies of exhibits to the court reporter

         prior to and during trial.

Q.    General Trial Procedures

      1. Counsel shall exercise good faith in attempting to reach a stipulation on

         undisputed facts and admission of exhibits.

      2. The Court will encourage all counsel to structure their trial presentation

         and generally approach this case so as to “provide for the just

         determination of every criminal proceeding,” “to secure simplicity in

         procedure,” and “to eliminate unjustifiable expense and delay.” Fed. R.

         Crim. P. 2. To that end, the Court will encourage all counsel to make

         liberal use of demonstrative exhibits which will avoid delay while

         providing the jury with a better understanding and comprehension of the

         evidence.

      3. During trial, the jury will be in the box and in the well, as described

         above, hearing testimony the entire trial except for any breaks


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         described above.

      4. During the time the jury is present, no argument beyond one-

         sentence evidentiary objections shall be allowed to interrupt the flow

         of testimony. Almost all objections should be stated in one to three

         words (“hearsay”, “asked & answered”, “irrelevant”, etc.).

      5. Because of the requirement of social distancing due to the COVID-19

         pandemic, sidebars will not be permitted, and the Court typically will not

         send the jury out of the courtroom to resolve evidentiary disputes.

         Counsel simply must anticipate evidentiary objections and bring them to

         the Court’s attention so that they can be resolved without sending the jury

         out of the courtroom. Counsel are to advise the Court and counsel of any

         such issues before they arise during trial so that it can be heard before or

         after the jury convenes. To avoid late-night sessions, counsel are

         encouraged to bring up all anticipated evidentiary questions in their

         pretrial briefs.

      6. Counsel shall have enough witnesses ready to ensure a full day of

         testimony. If witnesses are unavoidably delayed, counsel shall

         promptly notify the Court and opposing counsel.

      7. When counsel announces the name of a witness called to testify, the

         Court or the clerk will summon the witness forward to be sworn, the


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         clerk will administer the oath and, after the witness is seated, ask the

         witness to state her or his name and spell her or his last name for the

         record. I will then indicate to counsel that she or he may inquire of

         the witness.

      8. Please do not address parties or witnesses (including your own) by her or

         his first name unless such familiarity is clearly appropriate, and is not

         likely to be offensive to the witness or any juror. In case of doubt, don’t.

      9. Your clients and your witnesses should be instructed that they

         should always refer to you and opposing counsel by last names.

      10. You are responsible to advise your clients, your witnesses and everyone

         associated with your client to avoid all contact with the jurors. This

         prohibition includes seemingly innocuous behavior like riding on an

         elevator with a juror, saying hello to a juror, or even acknowledging the

         juror’s presence.

      11. In instructing the jury, the Court is inclined to use the same instructions

         that were given in the first trial. However, circumstances may require

         some changes in those instructions. If changes are necessary, I will

         conduct informal jury instruction conferences off the record to try and

         resolve most differences by agreement. Those sessions will be held at the

         end of the trial day and may stretch into the evening. At the end of those


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         sessions, we will have refined the issues of contention so that I can give

         you a set of my final instructions and you can state your objections on the

         record.

                                             DATED: December 3, 2021


                                             _________________________
                                             B. Lynn Winmill
                                             United States District Judge




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